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13                        UNITED STATES DISTRICT COURT
14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
15    ADAM FIGUEROA, Individually and as        Case No.
      heir and Successor in Interest to
16    CARMEN BEJAR FIGUEROA,                    [Removal from Superior Court of
      Deceased,                                 California, County of Orange 30-2021-
17                                              01186015-CU-PO-CJC]
                       Plaintiffs,
18                                              Action Filed: February 24, 2021
      vs.
19                                              DEFENDANT ANAHEIM TERRACE
      ANAHEIM TERRACE CARE                      CARE CENTER, LLC’S NOTICE OF
20    CENTER, LLC; GENESIS                      REMOVAL OF ACTION UNDER 28
      HEALTHCARE, LLC; and DOES 1-50,           U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
21
                       Defendants.              [Filed concurrently with Civil Cover Sheet,
22                                              Certification and Notice of Interested Parties;
                                                Declaration of Ryan G. Canavan; and Request for
23                                              Judicial Notice and Exhibits thereto]

24

25          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR

26   THE CENTRAL DISTRICT OF CALIFORNIA:

27
            PLEASE TAKE NOTICE AND NOTICE IS HEREBY GIVEN THAT Defendant,

28
     ANAHEIM TERRACE CARE CENTER, LLC (“Defendant”), with the consent of co-

                                NOTICE OF REMOVAL OF ACTION
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 1   defendant, GENESIS HEALTHCARE, LLC. hereby removes this action from the
 2   Superior Court of the State of California, County of Orange to the United States District
 3   Court for the Central District of California.         Removal is based on federal officer
 4   jurisdiction and federal question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441, 1442
 5   (a)(1), and 1446. Defendant reserves all defenses and objections to venue based on 42
 6   U.S.C. § 247d-6d(e)(1).
 7            In support of this Notice of Removal, Defendant states as follows:
 8   I.       PLEADINGS
 9            1.    On or about February 24, 2021, Plaintiff commenced this action in the
10   Superior Court of the State of California for the County of Los Angeles entitled Adam
11   Figueroa, Individually and as heir and Successor in Interest to Carmen Bejar Figueroa,
12   Deceased v. Anaheim Terrace Care Center, LLC; Genesis Healthcare, LLC; and DOES
13   1-50, Case No. 30-2021-01186015-CU-PO-CJC. Pursuant to 28 U.S.C. § 1446(a), true
14   and correct copies of all process, pleadings and orders served on Defendant in the
15   Superior Court action are attached as Exhibit A to Defendant’s Request for Judicial
16   Notice (hereinafter “RFJN”).
17            2.    Plaintiff, Adam Figueroa, Individually and as heir and Successor in Interest
18   to decedent, alleges that Carmen Bejar Figueroa, was a resident at a skilled nursing
19   facility, Anaheim Terrace Care Center, LLC (“Anaheim Terrace”) during the time
20   relevant to the Complaint. (See Exhibit A to RFJN, Complaint ¶¶ 1, 7.)
21            3.    Plaintiff alleges that due to the wrongful acts and omissions of Defendant,
22   Carmen Bejar Figueroa became infected with COVID-19 during her residency at
23   Anaheim Terrace and died due to the virus on August 5, 2020. (See Exhibit A to RFJN,
24   Complaint ¶¶ 2, 4, 6, 22, 23, 24, 26, 28, 29, 34, 35, 36, 40, 45, 53, 59.) Plaintiff alleges
25   causes of action for Violations of the Elder and Dependent Adult Civil Protection Act
26   (Wel. & Instit. Code § § 15600 et seq.), Negligence and Wrongful Death against
27   Defendant. (See Exhibit A to RFJN.)
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 1   II.     THE PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
 2           MET
 3           4.    Defendant Anaheim Terrace was served with the Complaint on March 5,
 4   2021.
 5           5.    Defendant’s Notice of Removal was filed by April 2, 2021, and is timely
 6   under 28 U.S.C. § 1446(b) as this Notice has been filed within thirty (30) days of the
 7   service of a copy of the initial pleading setting forth the claims for relief. Defendant,
 8   Anaheim Terrace files this Notice with the explicit consent of Defendant, Genesis
 9   Healthcare, LLC. (See Declaration of Ryan G. Canavan filed concurrently herewith, ¶¶2-
10   3.)
11           6.    Removal to the United States District Court for the Central District of
12   California, is proper because the Complaint was filed in the Superior Court of the State of
13   California for the County of Orange, which is located within the jurisdiction of this
14   District. See 28 U.S.C. § 1441(a); and 28 U.S.C. § 84(c)(2).
15           7.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
16   served on Plaintiff and a copy is being filed with the Clerk of the Superior Court of the
17   State of California for the County of Orange.
18   III.    JURISDICTION UNDER 28 U.S.C. § 1331 EXISTS BASED ON THE PREP
19           ACT
20           8.    This case is removable under 28 U.S.C. § 1441(a) on the basis of “original
21   jurisdiction” because Plaintiff’s Complaint asserts a claim “arising under” federal law
22   within the meaning of 28 U.S.C. § 1331.
23           9.    Plaintiff’s Complaint alleges that due to the wrongful acts and omissions of
24   Defendant, the decedent Carmen Bejar Figueroa became infected with COVID-19 during
25   her residency at Anaheim Terrace and died, in part, due to the virus on August 5, 2020.
26   (See Exhibit A to RFJN, Complaint ¶¶ 2, 4, 6, 22, 23, 24, 26, 28, 29, 34, 35, 36, 40, 45,
27   53, 59)
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 1         10.    Such allegations relate to Anaheim Terrace’s administration or use of
 2   qualified pandemic products used to diagnose, mitigate, prevent, treat or cure COVID-19,
 3   or to limit the harm COVID-19 might otherwise cause including NIOSH approved
 4   respiratory protective devices (facemasks) and COVID-19 testing kits. Therefore, the
 5   claims fall under the Public Readiness and Emergency Preparedness Act, 42 U.S.C. §§
 6   247d-6d and 247d-6e (2006) (the “PREP Act”), the applicability of which presents a
 7   significant federal question relating to the ongoing national emergency and COVID-19
 8   pandemic. As such, Congress provided an exclusive remedy for the substance of the
 9   allegations, and relief sought in the Complaint and federal law expressly pre-empts state
10   law for purposes of federal question jurisdiction. See PREP Act, 42 U.S.C. §§ 247d-6d,
11   247d-6e.
12         11.    The PREP Act, along with the Declarations of United States Health and
13   Human Services (“HHS”) Secretary Alex M. Azar, are federal statutes that apply to
14   healthcare providers and skilled nursing facilities, such as Anaheim Terrace, with respect
15   to the administration of countermeasures to diagnose, treat, prevent and mitigate the
16   spread of COVID-19.
17         12.    As Plaintiff has alleged claims which are preempted under a federal statute,
18   this Court has original jurisdiction pursuant to 28 U.S.C. § 1331, which provides that
19   “[t]he district courts shall have original jurisdiction of all civil actions arising under the
20   Constitution, laws, or treaties of the United States.” Federal courts have “jurisdiction to
21   hear, originally or by removal from a state court, only those cases in which a well-
22   pleaded complaint establishes either that federal law creates the cause of action or that
23   the plaintiff’s right to relief necessarily depends on resolution of a substantial question of
24   federal law.” Franchise Tax Bd. of State of Calif. v. Construction Laborers Vacation
25   Trust for Southern Calif., 463 U.S. 1, 27-28 (1983); Dennis v. Hart, 724 F.3d 1249, 1253
26   (9th Cir. 2013); Rivet v. Regions Bank of Louisiana, 522 U.S. 470, 475 (1998).
27

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 1           13.   A state claim may be removed to federal court in only two circumstances—
 2   when Congress expressly so provides or when a federal statute wholly displaces the state
 3   law cause of action through complete preemption. Beneficial National Bank v. Anderson,
 4   539 U.S. 1, 8 (2003). When the federal statute completely pre-empts the state law cause
 5   of action, a claim which comes within the scope of that cause of action, even if pleaded
 6   in terms of state law, is in reality based on federal law. Ibid. In the two categories of
 7   cases where the U.S. Supreme Court has found complete preemption, the federal statutes
 8   at issue provided the exclusive cause of action for the claim asserted and also set forth
 9   procedures and remedies governing that cause of action. Ibid.
10           14.   While a plaintiff is ordinarily entitled to choose a state or federal forum and
11   may evade federal jurisdiction by pleading only state law claims, express or complete
12   preemption is an exception to the well-pleaded complaint rule. Id. at 6. Complete
13   preemption exists when the preemptive force of federal law is so powerful that it
14   displaces any state law cause of action, and leaves room only for a federal claim for
15   purposes of the “well-pleaded complaint” rule. Metropolitan Life Ins. Co. v. Taylor, 481
16   U.S. 58, 63-64 (1987); see also NASDAQ OMX Group, Inc. v. UBS Securities, LLC, 770
17   F.3d 1010 (2d Cir. 2014). 1 Complete preemption exists when (1) the statute relied upon
18   by defendant as preemptive contains civil enforcement provisions within the scope of
19   which plaintiff’s state law claims fall; and (2) there is a “clear indication of
20   Congressional intention to permit removal despite the plaintiff’s exclusive reliance on
21   state law.” Railway Labor Executives Ass’n v. Pittsburgh & Lake Erie R.R. Co., 858 F2d
22   936, 942 (3d Cir. 1988) citing Franchise Tax Bd. of State of Calif. v. Construction
23   Laborers Vacation Trust for Southern Calif., supra, 463 U.S. at 24.
24   ///
25

26
     1 Federal jurisdiction requires that only one claim be identified as a federal question. See
27
     28 U.S.C. § 1367 [supplemental jurisdiction]; see also Franchise Tax Board v. Laborers
28   Vacation Trust, 463 U.S. 1, 13 (1983).
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 1         A.     The PREP Act Generally
 2         15.    The PREP Act provides liability protections for pandemic and epidemic
 3   products and their administration. The legislation empowers the Secretary of HHS to
 4   issue a declaration providing immunity for “covered persons” to suits and liability under
 5   federal and state law with respect to claims relating to the administration of a “covered
 6   countermeasure” during a health emergency. 42 U.S.C. §§ 247d-6d(a)(1). Specifically,
 7   42 U.S.C. § 247d-6d(a)(1) provides as follows:
 8         Subject to the other provisions of this section, a covered person shall be
           immune from suit and liability under Federal and State law with respect to
 9
           all claims for loss caused by, arising out of, relating to, or resulting from the
10         administration to or the use by an individual of a covered countermeasure if
           a declaration under subsection (b) has been issued with respect to such
11
           countermeasure.
12

13         16.    Section (b) of the PREP Act provides that if the Secretary makes a

14   determination that a disease or other health condition or other threat to health constitutes

15   as public health emergency, the Secretary may make a declaration setting forth that

16   subsection (a) is effective with respect to the manufacture, testing, development,

17   distribution, administration or use of one or more Covered Countermeasures under

18   conditions as the Secretary may specify in the Declaration or an amendment thereto. 42

19   U.S.C. § 247d-6d(b)(1) and (4).

20         17.    The PREP Act further provides that, “[n]o court of the United States, or of

21   any State, shall have subject matter jurisdiction to review, whether by mandamus or

22   otherwise, any action by the Secretary under this subsection.” 42 U.S.C. § 247d-

23   6d(b)(7) (emphasis added). Thus, under the PREP Act, Congress has not only provided

24   immunity claims arising out of Covered Countermeasures, it has delegated regulatory

25   authority to the HHS Secretary.

26         18.    As Congress has expressly delegated the duty to apply and interpret the Act

27   to the Secretary, the Declarations of the HHS Secretary are entitled to Chevron

28   deference. Where Congress has expressly delegated interpretive authority to an agency,
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 1   that agency’s interpretative proclamations are controlling on the federal courts. See
 2   Chevron USA, Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 843-844
 3   (1984).
 4           19.   On March 10, 2020, HHS Secretary Azar issued a Declaration invoking the
 5   PREP Act for the COVID-19 pandemic. The Declaration was effective as of February 4,
 6   2020.     85 Fed. Reg. 15,198 (Mar. 17, 2020); (See Exhibit B to RFJN).           In his
 7   Declaration, Secretary Azar subsequently issued an Amended Declaration under the
 8   PREP Act, which was effective as of March 27, 2020. 85 Fed. Reg. 21,012 (Apr. 15,
 9   2020); (See Exhibit C to RFJN). The Amendment added respiratory protective devices
10   approved by NIOSH (National Institute for Occupational Safety and Health) as a covered
11   countermeasure under the PREP Act. On June 4, 2020, Secretary Azar further amended
12   the March 10, 2020 Declaration to clarify that covered countermeasures under the
13   Declaration include qualified products that limit the harm COVID-19 might otherwise
14   cause. This Amendment was effective as of February 4, 2020. 85 Fed. Reg. 35,100
15   (June 8, 2020); (See Exhibit D to RFJN).
16           20.   On December 3, 2020, HHS Secretary Azar issued a Fourth Amended
17   Declaration under the PREP Act, and made this Amended Declaration effective as of
18   February 4, 2020. 85 Fed. Reg. 79,190 (Dec. 9, 2020); (See Exhibit E to RFJN). The
19   Secretary’s Fourth Amended Declaration provides that “COVID-19 is an unprecedented
20   global challenge that requires a whole-of-nation response that utilizes federal-, state-,
21   and local-distribution channels as well as private-distribution channels. Given the
22   broad scale of this pandemic, the Secretary amends [Section VII of] the Declaration to
23   extend PREP Act coverage to additional private-distribution channels . . . .” 85 Fed.
24   Reg. at 79,194; (See Exhibit E to RFJN, pg. 12 (emphasis added)).
25           21.   The Fourth Amended Declaration specifically provides that Section VII of
26   the Declaration is amended to extend liability protection under the PREP Act to Covered
27   Persons for Recommended Activities that are related to: “Covered Countermeasures” that
28
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 1   are:
 2          i. Licensed, approved, cleared or authorized by the FDA (or that are
            permitted to be used under an Investigational New Drug Application or an
 3
            Investigational Device Exemption) under the FD&C Act or PHS Act to
 4          treat, diagnose, cure, prevent, mitigate, or limit the harm from COVID-19,
            or the transmission of SARS-CoV-2 or a virus mutating therefrom; or
 5
            ii. A respiratory protective device approved by NIOSH under 42 CFR part
 6          84, or any successor regulations, that the Secretary determines to be priority
            for use during a public health emergency declared under section 319 of the
 7
            PHS Act to prevent, mitigate, or limit the harm from COVID-19, or the
 8          transmission of SARS-CoV-2 or a virus mutating therefrom. 85 Fed. Reg.
 9
            at 79,194; (See Exhibit E to RFJN, pg. 12).

10          22.     Secretary Azar’s Fourth Amended Declaration further makes explicit that
11   there can be situations where not administering a Covered Countermeasure to a particular
12   individual can fall under the PREP Act. “Prioritization or purposeful allocation of a
13   Covered Countermeasure, particularly if done in accordance with a public health
14   authority’s directive, can fall within the PREP Act and this Declaration’s liability
15   protections.”    85 Fed. Reg. at 79,197; (See Exhibit E to RFJN, pgs. 13 (emphasis
16   added)).
17          23. The Fourth Amended Declaration further provides that “the Declaration must
18   be construed in accordance with the Department of Health and Human Services
19   (HHS) Office of the General Counsel (OGC) Advisory Opinions [of April 17, 2020 as
20   modified on May 19, 2020 and October 22, 0220 as modified on October 23, 2020] on
21   the Public Readiness and Emergency Preparedness Act and the Declaration
22   (“Advisory Opinions”). The Declaration incorporates the Advisory Opinions for that
23   Purpose.” 85 Fed. Reg. at 79,191; (See Exhibit E to RFJN, pg. 3 (emphasis added)).
24   Thus, the Fourth Amended Declaration incorporates all OGC Advisory Opinions related
25   to COVID-19 and the PREP Act into the Secretary’s March 10, 2020 initiating
26   Declaration.     Where Congress has expressly delegated interpretive authority to an
27   agency, that agency’s interpretative proclamations are controlling on the federal courts.
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 1   See Chevron USA, Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 843-
 2   844 (1984). Thus, the OGC Advisory Opinions must be afforded Chevron controlling
 3   weight. Moreover, section (b)(7) of the PREP Act provides that “[n]o court of the United
 4   States, or of any state, shall have subject jurisdiction to review whether by mandamus or
 5   otherwise, any action by the Secretary under this subsection.”          42 U.S.C. § 247d-
 6   6d(b)(7).
 7         24.   Crucially, as discussed more completely below, Amendment Four directly
 8   acknowledges the federal interests in cases which require interpretation and application
 9   of the PREP Act:
10         COVID-19 is a global challenge that requires a whole-of-nation response.
           There are substantial federal legal and policy issues, and substantial
11
           federal legal and policy interests within the meaning of Grable & Sons
12         Metal Products, Inc. v. Darue Eng’g. & Mf’g., 545 U.S. 308 (2005), in
           having a unified, whole-of-nation response to the COVID-19 pandemic
13
           among federal, state, local, and private-sector entities. 85 Fed. Reg. at
14         79,197; (See Exhibit E to RFJN, pgs. 13-14 (emphasis added)).
15         25.   Amendment Four further explains:
16         The world is facing an unprecedented pandemic. To effectively respond,
17         there must be a more consistent pathway for Covered Persons to
           manufacture, distribute, administer or use Covered Countermeasures across
18         the nation and the world. Thus, there are substantial federal legal and policy
19         issues, and substantial federal legal and policy interests within the meaning
           of Grable & Sons Metal Products, Inc. v. Darue Eng’g. & Mf’g., 545 U.S.
20         308 (2005), in having a uniform interpretation of the PREP Act. 85 Fed.
21         Reg. at 79,194 (See Exhibit E to RFJN, pg. 26 (emphasis added)).
22         Thus, Amendment Four declares that the interpretation of the PREP Act is a matter
23   of significant and substantial federal concern, and that removal of any case involving the
24   interpretation of that Act is proper in accordance with the Supreme Court holding in
25   Grable.
26         26.   On January 8, 2021, the OGC issued new controlling authority in the form
27   of Advisory Opinion 21-01, which unequivocally confirms that: (1) the PREP Act is a
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 1   “Complete Preemption” Statute which confers federal question removal jurisdiction
 2   under 28 U.S.C. § 1441(a); (2) the PREP Act is invoked by allegations like those in the
 3   Complaint, including alleged inaction or failure to act; and (3) as discussed in more detail
 4   below, federal jurisdiction is separately conferred in such cases under the doctrine
 5   articulated by the United States Supreme Court in Grable & Sons Metal Products, Inc. v.
 6   Darue Eng’g. & Mf’g., 545 U.S. 308 (2005), because “ordaining the metes and bounds of
 7   PREP Act protection in the context of a national health emergency necessarily means that
 8   the case belongs in federal court.” (Exhibit DD to RFJN (emphasis added).)
 9         27.    Advisory Opinion 21-01 unequivocally states that “[t]he PREP Act is a
10   ‘Complete Preemption’ Statute,” because it establishes both a federal and administrative
11   cause of action as the only viable claim, and vests exclusive jurisdiction in federal court.
12   (Exhibit DD to RFJN.)
13         28.    Advisory Opinion 21-01 rejects the notion that immunity under the PREP
14   Act requires actual “use” of a covered countermeasure. Specifically, it provides that,
15   “this ‘black and white’ view clashes with the plain language of the PREP Act, which
16   extends immunity to anything ‘relating to’ the administration of a covered
17   countermeasure.” (Exhibit DD to RFJN, pgs. 2-3 (emphasis added).)
18         29.    Advisory Opinion 21-01 further provides that “[p]rioritization or purposeful
19   allocation of a Covered Countermeasure, particularly if done in accordance with a public
20   health authority’s directive, can fall within the PREP Act and this Declarations liability
21   protections. There can potentially be other situations where a conscious decision not to
22   use a covered countermeasure could relate to the administration of the
23   countermeasure.” (Exhibit DD to RFJN, pgs. 2-3 (emphasis added).)
24         30.    Additionally, Advisory Opinion 21-01 explains that “program planners” fall
25   within the set of “covered persons” under the PREP Act and that “decision-making that
26   leads to the non-use of covered countermeasures by certain individuals is the grist of
27

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 1   program planning, and is expressly covered by PREP Act.” (Exhibit DD to RFJN, pg. 4
 2   (emphasis added).)
 3         31.    Advisory Opinion 21-01 is binding on this court, as the HHS Secretary has
 4   now incorporated all HHS Advisory Opinions pertaining to COVID-19 into the PREP
 5   Act’s implementing Declaration itself, and proclaimed that the Declaration “must” be
 6   construed in accordance with them. (See Exhibit E to RFJN.)
 7         32.    As confirmed in Advisory Opinion 21-01, when the PREP Act is triggered,
 8   complete preemption attaches. Indeed, “[t]he sine qua non of a statute that completely
 9   preempts is that it establishes either a federal cause of action, administrative or judicial,
10   as the only viable claim or vests exclusive jurisdiction in a federal court. The PREP Act
11   does both.” (Exhibit DD to RFJN, pg. 2.) The Fifth Amendment to Secretary Azar’s
12   Declaration, published on February 2, 2021, reiterates that “[t]he plain language of the
13   Prep Act makes clear that there is complete preemption of state law….” 86 Fed. Reg.
14   7,872, 7,874 (Feb. 2, 2021); (Exhibit CC to RFJN).
15         33.    Here, Plaintiff’s claims are preempted by the PREP Act. Under the PREP
16   Act, Congress has provided an exclusive remedy and exclusive federal jurisdiction for
17   the substance of the allegations and relief sought in the Complaint thereby preempting
18   State law with respect to the claims raised in the Complaint.           Moreover, Anaheim
19   Terrace’s administration of countermeasures, such as the use of facemasks and other
20   PPE, and COVID-19 testing, to diagnose, treat, prevent or mitigate the spread of
21   COVID-19 which forms the basis of this action, presents a federal question under the
22   PREP Act giving this Court original jurisdiction preempting the state claims asserted by
23   Plaintiff in the Complaint.
24         B.      The PREP Act Applies Because Defendant Anaheim Terrace is a Covered
25   Person
26         34.    Immunity under the PREP Act is afforded to “covered persons” which
27   include a person or entity that is a “program planner” of a covered countermeasure,
28
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 1   and/or a qualified person who prescribed, administered, or dispensed such
 2   countermeasure.     Under the Act, “person” includes “an individual, partnership,
 3   corporation, association, entity, or public or private corporation.” 42 U.S.C. § 247d-6d
 4   (i)(2) and (5). The term “program planner” includes persons/entities “who supervised or
 5   administered a program with respect to the administration, dispensing, . . . provision, or
 6   use of a . . . qualified pandemic product or epidemic product, including a person who has
 7   established requirements, provided policy guidance, or supplied technical or scientific
 8   advice or assistance or provides a facility to administer or use a covered countermeasure
 9   in accordance with a [HHS Secretary’s] declaration . . . .” 42 U.S.C. § 247d-6d (i)(6).
10         35.   A private sector employer or other person can be a “program planner” when
11   it carries out prescribed activities. 85 Fed. Reg. 15,198, 15,199 (Mar. 17, 2020); (See
12   Exhibit B to RFJN). The OGC also recently issued a letter which provides that a “senior
13   living community” meets the definition of a “program planner” to the extent that it
14   supervises or administers a program with respect to the administration, dispensing,
15   distribution, provision or use of a qualified pandemic or epidemic product, including the
16   provision to a facility to administer or use a covered countermeasure. (Aug. 14, 2020
17   Letter from HHS Office of General Counsel to Thomas Barker of Foley Hoag, LLP,
18   attached as Exhibit F to RFJN.) The broad definition of “program planner” was also
19   addressed in Advisory Opinion 20-04, issued October 22, 2020, by the OGC. (See
20   Exhibit G to RFJN.)
21         36.   Defendant Anaheim Terrace qualifies as a “covered person” under the PREP
22   Act. At the time of the allegation set forth in the Complaint, Anaheim Terrace was acting
23   as a “program planner” and “qualified person.” Anaheim Terrace is a skilled nursing
24   facility licensed by the California Department of Public Health, which employs licensed
25   nursing personnel, including Registered Nurses and Licensed Vocational Nurses, who are
26   authorized to prescribe, administer, or dispense the covered countermeasures set forth in
27   Plaintiff’s Complaint (i.e., PPE including facemasks, gloves, gowns, face shields, N95
28
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 1   masks, and COVID-19 testing) under the laws of the State of California. Additionally,
 2   Anaheim Terrace is a program planner that was supervising and administering an
 3   infection control program with respect to the administration, dispensing, provision and
 4   use of qualified pandemic and epidemic products.
 5          C.     The PREP Act Applies Because the Allegations of the Complaint Concern
                   Defendant’s Administration and Use of "Covered Countermeasure"
 6

 7          37.    The PREP Act is applicable with respect to a “covered countermeasure,”
 8   which definition includes:
 9          (1) a qualified pandemic or epidemic product (as defined in § 247d-6d (i)
10          (7)) . . . or (4) a respiratory protective device that is approved by the
            National Institute for Occupational Safety and Health (“NIOSH”) and that
11          the Health and Human Service Secretary determines to be a priority for use
12          during a public health emergency declared under section 247d. 42 U.S.C. §
            247d-6d (i)(1).
13

14          A “qualified pandemic or epidemic product” is defined as: a drug, biologic product
15   or device that is:
16          (A)(i) a product manufactured, used, designed, developed, modified,
            licensed, or procured—
17          (I) to diagnose, mitigate, prevent, treat, or cure a pandemic or epidemic; or
18          (II) to limit the harm such pandemic or epidemic might otherwise cause;
            (ii) a product, manufacture, used, designed, developed, modified, licensed,
19          or procured to diagnose, mitigate, prevent, treat, or cure a serious of life-
20          threatening disease or condition caused by a product described in clause (i);
            or
21          (iii) a product or technology intended to enhance the use or effect of a drug,
22          biologic product, or device described in clause (i) or (ii); and
            (B)(i) approved or cleared under chapter V of the Federal Food, Drug, and
23          Cosmetic Act or licensed under section 262 of this title;
24          (ii) the object of research for possible use as described in subparagraph (A)
            and is the subject of an exemption under section 505(i) or 520(g) of the
25          Federal Food, Drug, and Cosmetic Act; or
26          (iii) authorized for emergency use in accordance with section 564, 564A, or
            564B of the Federal Food, Drug and Cosmetic Act.
27          42 U.S.C. § 247d-6d (i)(7).
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 1         38.   The OGC issued an omnibus Advisory Opinion on May 19, 2020 to address
 2   questions and concerns regarding the scope of the PREP Act immunity for the COVID-
 3   19 pandemic. The Opinion summarized the requirements to meet the definition of a
 4   qualified pandemic or epidemic product noting that the product:
 5               (1) must be used for COVID-19; and
                 (2) must be
 6
                       (a) approved, licensed, or cleared by FDA;
 7                     (b) authorized under an EUA [emergency use authorization];
                       (c) described in an EUI [emergency use instructions]; or
 8
                       (d) used under either an Investigational new Drug (IND)
 9                     application or an Investigational Device Exemption.
                       (Advisory Opinion 20-01, attached as Exhibit H to RFJN, pg.
10
                       4.)
11

12         39.   Moreover, attached as Appendix A to this Advisory Opinion is a list of the
13   “covered countermeasures” for which emergency use authorizations have been issued by
14   the United States Food and Drug Administration. (See Exhibit I to RFJN.) The list
15   includes twelve pages of COVID-19 test kits, and provides that face shields, gowns, shoe
16   covers, non-surgical isolation gowns, surgical caps, properly labeled non-surgical masks,
17   and certain non-NIOSH approved respirators are covered by an EUA. Surgical masks are
18   not listed; however, such masks are Class II medical devices which are cleared by the
19   FDA for use. See 21 C.F.R. § 878.4040. Thus, COVID-19 testing kits, face masks,
20   gowns, gloves and other PPE are “qualified pandemic or epidemic products” and
21   “covered countermeasures” under the PREP Act, as such products are either FDA
22   cleared/approved or are included in an EUA.
23         D.    The PREP Act Applies as there is a Causal Nexus Between the
                 Administration or Use of a Covered Countermeasure by a Covered Person
24               to the Alleged Injuries.
25

26         40.   Immunity under the PREP Act “applies to any claim for loss that has a
27   causal relationship with the administration to or use by an individual of a covered
28   countermeasure, including a causal relationship with the . . . distribution . . .
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 1   purchase, donation, dispensing, prescribing, administration, licensing, or use of
 2   such countermeasure.” 42 U.S.C. § 247d-6d (a)(2)(B) (emphasis added).
 3           41.   Plaintiff alleges that Defendant failed to prevent the decedent, Carmen Bejar
 4   Figueroa, from contracting COVID-19.         Such a claim, by its nature, arises out of
 5   Anaheim Terrace’s use, distribution, procurement and administration of covered
 6   countermeasures/qualified pandemic products (including COVID-19 testing kits, NIOSH
 7   approved respiratory protective devices and other PPE) used to diagnose, mitigate,
 8   prevent, treat or cure the COVID-19 virus, or to limit the harm COVID-19 might
 9   otherwise cause thereby triggering application of the PREP Act.
10           42.   In his initial March 10, 2020 Declaration, HHS Secretary Azar notes that
11   the “PREP Act does not explicitly define the term ‘administration’ but does assign the
12   Secretary the responsibility to provide relevant conditions in the Declaration.” 85 Fed.
13   Reg. 15,198, 15,200 (Mar. 17, 2020); (Exhibit B to RFJN).             In Section IX of the
14   Declaration, Secretary Azar defines “administration of a covered countermeasure” as the
15   “physical provision of the countermeasures to recipients or activities and decisions
16   directly relating to public and private delivery, distribution and dispensing of the
17   countermeasures to recipients; management and operation of countermeasure
18   programs; or management and operation of locations for purpose of distributing and
19   dispensing countermeasures.” 85 Fed. Reg. at 15,202; (Exhibit B to RFJN (emphasis
20   added)).
21           43.   Under the PREP Act, the Secretary may specify that liability protections are
22   in effect only for Covered Countermeasures obtained through a particular means of
23   distribution. Section VII of Secretary Azar’s initial March 10, 2020 Declaration provided
24   that”
25           “liability immunity is afforded to Covered Persons only for Recommended
             Activities that are related to (a) Present or future federal contracts,
26
             cooperative agreements, grants, other transactions, interagency agreements,
27           memoranda of understanding, or other federal agreements; or (b) Activities
             authorized in accordance with public health and medical response of the
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 1          Authority Having Jurisdiction to prescribe, administer, deliver, distribute or
            dispense the Covered Countermeasures following a Declaration of an
 2
            emergency.” 85 Fed. Reg. at 15,200; (Exhibit B to RFJN).
 3          44. Moreover, Secretary Azar’s Fourth Amended Declaration amended Section
 4   VII of the Declaration. This Fourth Amendment provides that,
 5          COVID-19 is an unprecedented global challenge that requires a whole-of-
            nation response that utilizes federal-, state-, and local-distribution
 6
            channels as well as private-distribution channels. Given the broad scale
 7          of this pandemic, the Secretary amends [Section VII of] the Declaration to
            extend PREP Act coverage to additional private-distribution channels….
 8
            85 Fed. Reg. at 79,194; (Exhibit E to RFJN, pg. 12 (emphasis added)).
 9

10          45.   The Fourth Amended Declaration specifically provides that Section VII of

11
     the Declaration is amended to extend liability protection under the PREP Act to Covered

12
     Persons for Recommended Activities that are related to “Covered Countermeasures” that

13
     are:

14
            i. Licensed, approved, cleared or authorized by the FDA (or that are
            permitted to be used under an Investigational New Drug Application or an
15          Investigational Device Exemption) under the FD&C Act or PHS Act to
16
            treat, diagnose, cure, prevent, mitigate, or limit the harm from COVID-19,
            or the transmission of SARS-CoV-2 or a virus mutating therefrom; or
17          ii. A respiratory protective device approved by NIOSH under 42 CFR part
18
            84, or any successor regulations, that the Secretary determines to be priority
            for use during a public health emergency declared under section 319 of the
19          PHS Act to prevent, mitigate, or limit the harm from COVID-19, or the
20
            transmission of SARS-CoV-2 or a virus mutating therefrom. 85 Fed. Reg at
            79,194; (Exhibit E to RFJN).
21

22          46.   The PREP Act was designed to apply to individuals and entities responding
23   to public health emergencies, and provides immunity for claims involving “covered
24   countermeasures” under the Act.        Plaintiff’s claims involve activities and decisions
25   directly related to the delivery, distribution and dispensing of countermeasures to
26   recipients and the management and operation of Anaheim Terrace’s covered
27   countermeasures program, including decisions as to how best to optimize supplies of PPE
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 1   and utilize COVID-19 testing kits in light of known regional and national shortages. The
 2   broad definition of “administration of a covered countermeasure” set forth in Secretary
 3   Azar’s Declaration encompasses Anaheim Terrace’s plans and decisions with respect to
 4   how best to utilize and optimize supplies of PPE and COVID-19 testing kits, and whether
 5   and when the use of such countermeasures is appropriate. Moreover, during the relevant
 6   time frame to Plaintiff’s claims, Anaheim Terrace was subject to guidance/directives
 7   issued by the Centers for Disease Control and Prevention (“CDC”), Centers for Medicaid
 8   and Medicare Services (“CMS”), and the California Department of Public Health
 9   (“CDPH”), and was following this applicable public health guidance with respect to the
10   use of PPE and COVID-19 testing. Anaheim Terrace has thus established that it has
11   immunity from suit and liability under the PREP Act as it relates to Plaintiff’s claims.
12   IV.   FEDERAL QUESTION JURISDICTION IS PROPER UNDER THE
13         DOCTRINE OF COMPLETE PREEMPTION BECAUSE THE PREP ACT
14         EXPRESSLY PREEMPTS STATE LAW CLAIMS FOR LOSS, AND
15         PROVIDES AN EXCLUSIVE SET OF FEDERAL REMEDIES
16         47.    On its face, Plaintiff’s claims appear to sound in state law. However,
17   Congress has already provided an exclusive remedy for Plaintiff’s “claim for loss” under
18   the PREP Act, in the form of a no-fault compensation program and an exclusive judicial
19   cause of action for claims of “willful misconduct.”
20         48.    Complete preemption is “a jurisdictional rather than a preemption doctrine,
21   [as it] confers exclusive federal jurisdiction in certain instances where Congress intended
22   the scope of federal law to be so broad as to entirely replace any state-law claim.” Marin
23   General Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941, 945 (9th Cir. 2009).
24   Complete preemption exists when the preemptive force of federal law is so powerful that
25   it displaces any state law cause of action, and leaves room only for a federal claim for
26   purposes of the “well-pleaded complaint” rule. Metropolitan Life Ins. Co. v. Taylor, 481
27   U.S. 58, 63-64 (1987). The Ninth Circuit has acknowledged that removal based on the
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 1   complete preemption doctrine is appropriate where Congress has created an exclusive
 2   federal cause of action. See In re Miles, 430 F.3d 1083, 1088 (9th Cir. 2005).
 3          49.    The issue of whether federal question jurisdiction exists when a plaintiff
 4   asserts a claim in state law was addressed by the Supreme Court in Beneficial Nat. Bank
 5   v. Anderson, 539 U.S. 1 (2003). The Court explained:
 6          [A] state claim may be removed to federal court … when a federal statute
            wholly displaces the state-law cause of action through complete pre-
 7
            emption. When the federal statute completely pre-empts the state-law cause
 8          of action, a claim which comes within the scope of that cause of action, even
            if pleaded in terms of state law, is in reality based on federal law. In the two
 9
            categories of cases where this Court has found complete pre-emption … the
10          federal statutes at issue provided the exclusive cause of action for the
            claim asserted and also set forth procedures and remedies governing that
11
            cause of action. Id. at 8 (emphasis added; internal citations and footnotes
12          omitted).
13

14
            50.    There, the plaintiff brought an action for usury under state law, which was

15
     preempted by the usury provisions of the National Bank Act (12 U.S.C.A. §§ 85 and 86).

16
     The Court held that even though Congress did not explicitly provide for removal of

17
     preempted claims, the provisions collectively “supersede[d] both the substantive and the

18
     remedial provisions of state usury laws and create a federal remedy for overcharges that

19
     is exclusive.” Beneficial Nat. Bank, supra, at 11. Therefore, the Court held that federal

20
     question jurisdiction was proper under the “complete preemption” doctrine.

21
            51.    Since 2003, the doctrine of “complete preemption” has been applied by the

22
     lower courts to at least ten other statutes. 2 Circuit and district courts considering the

23

24
     2 These include the Transportation Safety and System Stabilization Act (In re WTC Disaster Site, 414
     F.3d 352 (2d Cir. 2005)); the Bankruptcy Code (In re Miles, 430 F.3d 1083 (9th Cir. 2005)); the
25   Carmack Amendment to the Interstate Commerce Act (see, e.g., Smallwood v. Allied Van Lines, Inc.,
     660 F.3d 1115 (9th Cir. 2011); the Interstate Commerce Commission Termination Act (see, e.g., Elam
26   v. Kansas City Southern Ry. Co., 635 F.3d 796 (5th Cir. 2011)); the Copyright Act (see, e.g., Spear
     Marketing, Inc. v. BancorpSouth Bank, 791 F.3d 586 (5th Cir. 2015)); the Federal Communications Act
27
     (see, e.g., Bastien v. AT&T Wireless Services, Inc., 205 F.3d 983 (7th Cir. 2000)); the Federal Deposit
28   Insurance Act (Vaden v. Discover Bank, 556 U.S. 49 (2009)); the Federal Railroad Safety Act (see,
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 1   issue have found “complete preemption” where a federal statute (1) expressly preempts
 2   state law and (2) creates an exclusive federal remedy for preempted state claims. See,
 3   e.g., In re WTC Disaster Site, 414 F.3d 352, 380 (2d Cir. 2005); Spear Marketing, Inc. v.
 4   Bancorp South Bank, 791 F.3d 586 (5th Cir. 2015); Nott v. Aetna U.S. Healthcare, Inc.,
 5   303 F.Supp.2d 565 (E.D. Pa. 2004).
 6          52.     The PREP Act plainly satisfies both prongs of this analysis. First, the PREP
 7   Act clearly preempts any state law that runs afoul of the immunity granted thereunder.
 8   Under 42 U.S.C. § 247d-6d(a)(1), a “covered person” is afforded broad immunity “from
 9   suit and liability under Federal and State law” for “all claims for loss caused by,
10   arising out of, relating to, or resulting from” the “administration” or “use” of a “covered
11   countermeasure” if the Secretary of the HHS issues a declaration to that effect—which he
12   has. (Emphasis added.) The PREP Act also expresses its clear intention to preempt state
13   control of the issues raised, and explicitly provides as follows:
14                 During the effective period of a declaration under subsection (b),
                   or at any time with respect to conduct undertaken in accordance
15
                   with such declaration, no State or political subdivision of a State
16                 may establish, enforce, or continue in effect with respect to a
                   covered countermeasure any provision of law or legal
17
                   requirement that—
18                 (A) is different from, or is in conflict with, any requirement
                   applicable under this section; and
19
                   (B) relates to the . . . distribution, sale, donation, purchase . . . or
20                 the prescribing, dispensing or administration by qualified
21
                   persons of the covered countermeasure, or to any matter
                   included in a requirement applicable to the covered
22                 countermeasure under this section or any other provision of this
23
                   chapter. . . 42 U.S.C. § 247d-6d(b)(8).

24

25

26
     e.g., Lundeen v. Canadian Pacific R. Co., 532 F.3d 682 (8th Cir. 2008)); the National Labor Relations
27   Act (see, e.g., Price v. Union Local 25, 787 F. Supp. 2d 63 (D.D.C. 2011)); and the Securities Litigation
     Uniform Standards Act (SLUSA) (see, e.g., Brockway v. Evergreen Intern. Trust, 496 Fed. Appx. 357
28   (4th Cir. 2012)).
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 1         53.    Second, the PREP Act clearly establishes a set of exclusive federal remedies
 2   for any claim preempted, and also establishes the procedures applicable to such actions.
 3   Under 42 U.S.C. § 247d-6d(d)(1), “the sole exception to the immunity from suit and
 4   liability of covered persons … shall be for an exclusive Federal cause of action against a
 5   covered person for death or serious physical injury proximately caused by willful
 6   misconduct.” Claims for “willful misconduct” are subject to several heightened pleading
 7   requirements. Id. at § 247d-6d(e)(1)-(4). The statute further sets forth the procedures for
 8   suit, which must be filed in the U.S. District Court for the District of Columbia, including
 9   requirements for pleading with particularity, verification of and submission of a
10   physician declaration in support of the complaint, and assignment of the action to a three-
11   judge panel which shall have jurisdiction to consider motions to dismiss, and motions for
12   summary judgment. 42 U.S.C. § 247d-6d(e)(1), (e)(5). Moreover, pursuant to Section
13   247d-6d(e)(10),
14         United States Court of Appeals for the District of Columbia Circuit shall
           have jurisdiction of an interlocutory appeal by a covered person taken
15
           within 30 days of an order denying a motion to dismiss or motion for
16         summary judgment based on an assertion for the immunity from suit
           conferred by subsection (a) or based on an assertion of the exclusion
17
           under subsection (c)(5). (Emphasis added.)
18

19   Hence, the PREP Act sets up an exclusive cause of action for the claims asserted by
20   Plaintiff and the procedures and remedies governing the cause of action.
21         54.    An alternative remedy is also available for any claims barred by 42 U.S.C. §
22   247d-6d. Under § 247d-6e, an individual is permitted to claim no-fault benefits through
23   the Covered Countermeasure Process Fund for a “covered injury directly caused by the
24   administration or use of a covered countermeasure.” In fact, even a claimant alleging
25   “willful misconduct” must first apply for benefits through the Fund under § 247d-6e
26   before bringing an action in the District of Columbia under § 247d-6d(d). Id. at § 247d-
27

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 1   6e(d)(1). Therefore, it is clear that Congress sought to establish a set of exclusive federal
 2   remedies for claims that are preempted under the PREP Act.
 3            55.   OGC Advisory Opinion 21-01, issued on January 8, 2021, which is entitled
 4   to Chevron deference, also makes clear the PREP Act is a “complete preemption”
 5   statute. The Advisory Opinion states that “[t]he sine qua non of a statute that completely
 6   preempts is that it establishes either a federal cause of action, administrative or judicial,
 7   as the only viable claim or vests exclusive jurisdiction in a federal court. The PREP Act
 8   does both.” (Exhibit DD to RFJN, pg. 2.) The PREP Act has also been determined to be
 9   a complete preemption statute by a state appellate court in New York. See Parker v. St.
10   Lawrence County Public Health Department, 102 A.D.3d 140, 143-45 (N.Y. App.Div.
11   2012).
12            56.   In a Statement of Interest recently submitted by the Department of Justice in
13   Bolton v. Gallatin Center for Rehabilitation & Healing, LLC, Case 3:20-cv-00683, which
14   is pending in the Middle District of Tennessee, the United States also asserts that the
15   PREP Act is a complete preemption statute with respect to the administration or
16   use of covered countermeasures. As the U.S. Department of Justice points out, “[t]wo
17   key provisions of the PREP Act operate together to demonstrate its completely
18   preemptive nature: the immunity provision and the exclusive alternative remedy
19   provision.” (Exhibit EE to RFJN, pg. 7-10.) The Statement of Interest also sets forth
20   that it is the nature of the complaint that determines complete preemption, not the stated
21   claims. (Exhibit EE to RFJN, pg. 6.)
22            57.   Here, both prongs of the “complete preemption” analysis are satisfied by the
23   PREP Act: (1) Congress clearly intended to preempt state law with respect to claims that
24   invoke PREP Act immunity; and (2) Congress clearly intended to create an exclusive
25   federal remedy for such preempted claims. As set forth above, The Fifth Amendment to
26   Secretary Azar’s Declaration reiterates that “[t]he plain language of the Prep Act makes
27   clear that there is complete preemption of state law….” 86 Fed. Reg. 7,872, 7,874 (Feb.
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 1   2, 2021). The PREP Act meets the requirements for removal jurisdiction as set forth by
 2   the U.S. Supreme Court in Beneficial National Bank v. Anderson, supra, and any claim
 3   falling within its broad preemptive ambit is subject to removal under the doctrine of
 4   “complete preemption.”
 5   V.    THIS CASE RAISES SUBSTANTIAL AND IMPORTANT FEDERAL
 6         ISSUES      THUS PROVIDING EMBEDDED FEDERAL QUESTION
 7         JURISDICTION OVER PLAINTIFF’S CLAIMS
 8         58.    Federal jurisdiction is further appropriate as this state action “arises under”
 9   federal law and raises a substantial federal issue. See Grable & Sons Metal Products v.
10   Darue Eng’g. & Mf’g., 545 U.S. 308 (2005). The applicability of the PREP Act poses a
11   substantial federal issue which would serve to clarify and determine vital issues of
12   federal law. Federal question jurisdiction over state law claims may be sustained if the
13   claims present a substantial, embedded question of federal law.              Merrell Dow
14   Pharmaceuticals Inc. v. Thompson, 478 U.S. 804, 808 (1986). In Grable & Sons Metal
15   Products v. Darue Eng’g. & Mf’g, 545 U.S. 308 (2005), the United States Supreme Court
16   held that removal is appropriate if (1) the state law claim necessarily raises a disputed
17   and substantial issue; and (2) a federal court may entertain the claims without disturbing
18   federal/state comity principles. Id. at 314.
19         59.    In his Fourth Amended Declaration, Secretary Azar makes explicit that the
20   PREP Act presents substantial federal legal and policy issues, and that there are
21   substantial federal legal and policy interests within the meaning of Grable, in having a
22   unified whole-of-nation response to the COVID-19 pandemic among federal, state, local
23   and private-sector entities. The Secretary attests that,
24         [t]he world is facing an unprecedented global pandemic. To effectively
           respond, there must be a more consistent pathway for Covered Persons to
25
           manufacture, distribute, administer or use Covered Countermeasures across
26         the nation and the world. Thus, there are substantial federal legal and
           policy issues, and substantial federal legal and policy interests within
27
           the meaning of Grable & Sons Metal Products v. Darue Engineering &
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 1         Mfg, 545 U.S. 308 (2005), in having a uniform interpretation of the
           PREP Act. Under the PREP Act, the sole exception to the immunity for
 2
           suit and liability of covered persons is an exclusive Federal cause of action
 3         against a Covered Person for death or serious physical injury proximately
           caused by willful misconduct of such Covered Person. In all other cases, an
 4
           injured party’s exclusive remedy is an administrative remedy under section
 5         319F-4 of the PHS Act. Through the PREP Act, Congress delegated to me
           the authority to strike the appropriate Federal-state balance with respect to
 6
           particular Covered Countermeasures through PREP Act declarations. 85
 7         Fed. Reg. at 79,194; (Exhibit E to RFJN, pgs. 13-14, 25-26) (emphasis
 8
           added).

 9         60.    Thus, by the express terms of the Secretary’s Fourth Amended Declaration,
10   removal is proper under Grable because Plaintiff’s state law claims raise a substantial
11   issue of federal law involving the interpretation and application of the PREP Act.
12   Secretary Azar’s Fourth Amended Declaration directly addresses the federal interest in
13   cases such as this, by stating not once, but twice: “there are substantial federal legal
14   and policy issues, and substantial federal legal and policy interests within the
15   meaning of Grable & Sons Metal Products, Inc. v. Darue Eng’g. & Mf’g., 545 U.S.
16   308 (2005).” 85 Fed. Reg. at 79,194; (Exhibit E to RFJN). Here, Plaintiff alleges that
17   Defendant failed to prevent the decedent, Carmen Bejar Figueroa, from contracting
18   COVID-19. Such a claim, by its nature, arises out of Anaheim Terrace’s administration
19   of covered countermeasures and invokes the PREP Act. Thus, the federal legal and
20   policy issues described in Secretary Azar’s Fourth Amended Declaration control and
21   require this Court to retain this action.
22         61.    This case involves issues of national importance. While Plaintiff does allege
23   State causes of action, Plaintiff’s claims relate to Defendant’s response to a national
24   public health state of emergency, which has not been seen by this Country in over a
25   century. The healthcare response to this pandemic was coordinated at a national level by
26   the Department of Health and Human Services, the CDC, the FDA and CMS, and
27   entailed the issuance of detailed directives to healthcare providers to identify and
28   sequester infected patients, which patients under investigation were to be tested, and the
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 1   use of personal protective equipment (“PPE”). All positive cases of COVID-19 were
 2   reported to the CDC, and initially all testing was conducted solely through the CDC.
 3   Plaintiff’s Complaint raises issues with respect to Defendant’s response to a national
 4   pandemic and the response to the pandemic coordinated at a federal level; as well as the
 5   procurement, use, allocation, distribution and administration of PPE and COVID-19
 6   testing, which invoke a substantial federal question regarding the extent to which the
 7   broad immunities afforded under the PREP Act apply to the conduct of Defendant.
 8         62.      The application of the PREP Act raises a substantial federal issue which is
 9   disputed. The allegations in the Complaint arise out of Defendant’s response to the
10   COVID-19 pandemic and are inextricably intertwined with and invoke the PREP Act and
11   the Declarations of the HHS Secretary. This Federal Court has a substantial interest in
12   determining the application of the PREP Act in this matter. The PREP Act and its
13   triggering immunity has been invoked in exceptionally rare circumstances since it was
14   enacted in 2005. The PREP Act and HHS Secretary Azar’s declarations confer a broad
15   and sweeping immunity to individuals and entities fighting the COVID-19 pandemic
16   during this declared state of emergency. The unique character of the COVID-19 virus, as
17   well as its high communicability, required Secretary Azar to set forth an expansive
18   declaration covering broad categories of measures to fight the pandemic including
19   COVID-19 testing and PPE, all of which require interpretation as to the scope and
20   application.    Thus, there can be no doubt that there is a substantial and compelling
21   interest for the PREP Act and the Secretary’s Declaration to be interpreted by the federal
22   courts. Moreover, the federal courts are uniquely and properly positioned to interpret
23   Congressional intent and interests of the federal government.
24         63.      This case also satisfies the second prong set forth in Grable. Federal
25   jurisdiction over Plaintiff’s claims will not disturb federal-state comity principles under
26   Grable. As set forth by Secretary Azar in his Fourth Amended Declaration: “Through
27   the PREP Act, Congress delegated to me the authority to strike the appropriate Federal-
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 1   state balance with respect to particular Covered Countermeasures through PREP Act
 2   declaration.” 85 Fed. Reg at 79,194; (Exhibit E to RFJN). Moreover, the plain, statutory
 3   language of the PREP Act expresses a strong federal interest and a clear intention to
 4   supersede or preempt state control of the issues raised by Plaintiff’s Complaint.
 5         64.    Congress did not intend the application of PREP Act immunity to be
 6   decided by State Courts. As such, this Court would not be disturbing or infringing on
 7   any balance of State and Federal judicial responsibilities by retaining jurisdiction. To the
 8   contrary, the plain language of the statute seeks to assert broad federal authority over the
 9   issues arising under the Act, and seeks to eliminate all semblance of State court control.
10   Secretary Azar’s Fourth Amended Declaration makes explicitly clear that there is
11   exclusive federal jurisdiction over lawsuits involving covered countermeasures, and that
12   this federal jurisdiction is essential to the uniform provision of a national response to the
13   COVID-19 pandemic and the PREP Act. See 85 Fed. Reg. 79,190; (Exhibit E to RFJN).
14   VI.   REMOVAL IS PROPER BECAUSE THIS COURT HAS JURISDICTION
15         UNDER THE FEDERAL OFFICER STATUTE
16         65.    Removal is proper under 28 U.S.C. §1442(a)(1), which provides for removal
17   when a defendant is sued for acts undertaken at the direction of a federal officer.
18   Removal is appropriate under §1442(a)(1), when the removing defendant establishes that:
19                (a)   Defendant is a “person”;
20                (b)   Defendant was acting under the direction of a federal officer when it
21         engaged in the allegedly tortious conduct;
22                (c)   There is a causal nexus between the Plaintiff’s claims and the
23         Defendant’s actions under federal direction; and
24                (d) Defendant has raised a colorable defense based upon federal law.
25   Goncalves v. Rady Children’s Hospital San Diego 865 F.3d 1237, 1244 (9th Cir. 2017).
26   Courts have a duty to broadly interpret Section 1442 in favor of removal, which “should
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 1   not be frustrated by a narrow, grudging interpretation” of the statute. Ibid. (quotations
 2   and citations omitted).
 3         66.    This statute creates removal jurisdiction even as to cases that otherwise
 4   could not be commenced in or removed to federal court. See Jefferson County, Ala. v.
 5   Acker, 527 U.S. 423, 431 (1999) (finding no diversity in a common law negligence
 6   action against government driver who lived in same state as plaintiff); see also Mir v.
 7   Fosburg 646 F.2d 342, 344 (9th Cir. 1980).           Moreover, unlike the usual rule that
 8   removability in federal question cases must appear on the face of a well-pleaded
 9   complaint, cases may be removable under Section 1442(a) when a federal officer or
10   agency raises a “colorable federal defense”. See Jefferson County, Ala. v. Acker, supra,
11   527 U.S. at 431.
12         67.    Here, Defendant satisfies all elements for removal under Section 1442(a)(1).
13   Defendant is a “person” for the purposes of the federal officer statute. The term “person”
14   includes “corporations, companies, associations, firms, partnerships, societies, and joint
15   stock companies, as well as individuals.” 1 U.S.C. § 1; see also Goncalves, supra, 865
16   F.3d at 1244.
17         68.    Defendant was also acting under the direction of a federal officer when they
18   engaged in the alleged tortious conduct. The U.S. Supreme Court has held that the
19   phrase “acting under” involves “an effort to assist, or help carry out, the duties or tasks
20   of the federal superior.” Watson v. Philip Morris Cos., 551 U.S. 142, 152 (2007); see
21   also In re Commonwealth’s Motion to Appoint Counsel Against or Directed to Defender
22   Association of Philadelphia, 790 F.3d 457 (3d Cir. 2015).              The “acting under”
23   requirement is broad and is to be liberally construed. Watson, supra, 551 U.S. at 147.
24         69.    “[R]emoval by a ‘person acting under’ a federal officer must be predicated
25   upon a showing that the acts that form the basis for the state civil or criminal suit were
26   performed pursuant to an officer’s direct orders or to comprehensive and detailed
27   regulations. Cf. Bakalis v. Crossland Savings Bank, 781 F.Supp. 140, 144-145 (E.D.N.Y.
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 1   1991) (finding ‘The rule that appears to emerge from the case law is one of ‘regulation
 2   plus...’); Ryan v. Dow Chemical Co., 781 F. Supp. 934, 947 (E.D.N.Y. 1992) (finding
 3   that the “control requirement can be satisfied by strong government intervention and the
 4   threat that a defendant will be sued in state court ‘based upon actions taken pursuant to
 5   federal direction.’”); see Fung v. Abex, Corp., 816 F. Supp. 569, 572 (N.D. Cal. 1992).
 6   The “acting under” requirement is met when the defendant is acting pursuant to detailed
 7   and ongoing instructions from a federal officer. Winters v. Diamond Shamrock Chem.
 8   Co., 149 F.3d. 387 (5th Cir. 1998).
 9         70.   Defendant meets the “acting under” prong for removal based on the federal
10   officer statute. Here, Plaintiff contends that the acts and omissions of Defendant, with
11   respect to their response to the COVID-19 pandemic, caused the decedent, Carmen Bejar
12   Figueroa, to contract the virus which led to her death. Specifically, Plaintiff alleges that
13   Defendant failed to prevent the decedent from contracting COVID-19. (See Exhibit A to
14   RFJN, Complaint ¶¶ 2, 4, 6, 22, 23, 24, 26, 28, 29, 34, 35, 36, 40, 45, 53, 59.)
15         71.    Prior to the current national pandemic, regulation of nursing homes was very
16   general in nature. In 1987, Congress enacted legislation, known as the Nursing Home
17   Reform Act, requiring nursing homes participating in Medicare and Medicaid to comply
18   with certain quality of care rules and regulations. See 42 U.S.C. § 1396r, 42 U.S.C. §
19   1395i-3 and 42 C.F.R. § 483.1 through 42 C.F.R. § 483.95. The Centers for Medicare
20   and Medicaid Services (“CMS”), contracts with state surveyors, including the California
21   Department of Public Health in California (“CDPH”), to perform federal surveys to
22   ensure that facilities accepting Medicare and Medicaid (Medi-Cal) payments comply
23   with federal laws and regulatory requirements. Generally, and prior to the pandemic,
24   these surveyors conducted site visits to evaluate whether facilities are in compliance with
25   federal requirements and regulations. See 42 U.S.C. § 1395aa; and 42 CFR § 488.10. If
26   CDPH surveyors found a “deficiency” in a facility’s compliance with federal regulations,
27   CDPH would issue a deficiency or citation, and on occasion use the CMS enforcement
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 1   remedy of a “directed plan of correction,” under which the facility would develop and
 2   submit a plan of correction, which would then be enforced on behalf of CMS by CDPH.
 3         72.    In January, 2020, in response to the pandemic and the national state of
 4   emergency, CMS and the CDC began issuing detailed directives to healthcare facilities as
 5   part of the coordinated national effort to respond to and contain the COVID-19
 6   pandemic.    CDPH surveyors, contracted by CMS, were supervising skilled nursing
 7   facilities with respect to all aspects of infection control and the pandemic response and
 8   ensuring strict compliance with the CMS directives. The issuance of timely and evolving
 9   guidance in response to a public health emergency was in contrast to the role of CMS
10   before the pandemic. Prior to the pandemic, the focus was on ensuring compliance with
11   existing regulations. However, throughout the pandemic, CMS and CDPH as its agent,
12   specifically instructed facilities to take or not take particular clinical and operational
13   actions in the absence of finding deficiencies that would otherwise require the facility to
14   develop its own plan of correction. These directives included the following:
15                A.    Early directives to skilled nursing facilities focused on monitoring
16   residents and staff for symptoms and protecting healthcare providers from infection due
17   to contact with symptomatic patients. Facilities were advised to adhere to standards for
18   infection prevention and take steps to prepare for COVID-19.
19                B.    In January and February, 2020, the CDC issued a number of health
20   updates regarding the 2019 Coronavirus, as well as criteria to guide the evaluation and
21   testing of patients under investigation (“PUI”) for COVID-19. Healthcare providers were
22   advised to identify PUI based on clinical features (i.e., fever or signs/symptoms of lower
23   respiratory illness), travel to an affected geographic region and contact with a laboratory
24   confirmed COVID-19 patient. Persons meeting the PUI criteria were to be tested and
25   healthcare providers were advised to immediately notify their local or state health
26   department in the event they were evaluating a PUI. State health departments in turn
27   were instructed to immediately contact the CDC and complete a PUI case investigation
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 1   form. Initially COVID-19 testing was conducted solely through the CDC, which assisted
 2   local/state health departments in the collection, storage and shipment of specimens to the
 3   CDC. During this time, the CDC also directed healthcare providers to use standard,
 4   contact and airborne precautions when interacting with PUI. (See January 8, 2020, CDC
 5   Health Update Outbreak of Pneumonia of Unknown Etiology (PUE) in Wuhan China,
 6   attached as Exhibit J to the RFJN; January 17, 2020 CDC Interim Infection Prevention
 7   and Control Recommendations for Patients with Known or Patients Under Investigation
 8   for 2019 Novel Coronavirus (2019-n-coV) in a Healthcare Setting, attached as Exhibit K
 9   to the RFJN; January 24, 2020 CDC Interim Infection Prevention and Control
10   Recommendations for Patients with Known or Patients Under Investigation for 2019
11   Novel Coronavirus (2019-n-coV) in a Healthcare Setting, attached as Exhibit L to the
12   RFJN.)
13                C.      On February 1, 2020, the CDC issued an “Update and Interim
14   Guidance on the Outbreak of 2019 Novel Coronavirus” to provide further guidance to
15   healthcare providers regarding 2019-nCoV 2019 (the 2019 Novel Coronavirus, now
16   known as COVID-19). The guidance was part of the “ongoing US public health
17   response . . . to identify and contain [the] outbreak and prevent sustained spread of
18   2019-nCoV in the United States” and addressed infection prevention and control specific
19   to 2019-nCoV. (See February 1, 2020 CDC Health Update and Interim Guidance on the
20   Outbreak of 2019 Novel Coronavirus (2019-n-coV), attached as Exhibit M to the RFJN
21   (emphasis added).)
22          In the update, the CDC noted that the first United States case was identified on
23   January 21, 2020, and had recently traveled from Wuhan, China. Since that time, six
24   additional cases had been confirmed in the U.S., four among persons who had traveled
25   from Wuhan and one a close contact of a confirmed case. This document further
26   provided updated directives related to screening of patients in healthcare facilities, and
27   coordination with local health departments for testing and reporting of results. In the
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 1   update, the CDC set forth the criteria for assessing patients for COVID-19, and advised
 2   that patients who meet the criteria should be asked to wear a surgical mask as soon as
 3   they are identified and evaluated in a private room with the door closed, ideally an
 4   airborne infection isolation room if available. Healthcare personnel entering the room
 5   were again directed to use standard precautions, contact precautions, airborne precautions
 6   and eye protection. Persons with a confirmed or suspected COVID-19 infection who
 7   were hospitalized were to be evaluated and cared for in a private room with the door
 8   closed, ideally an airborne infection isolation room. (See Exhibit M to RFJN.)
 9               D.     In January and February, the California Department of Public Health
10   (“CDPH”) issued a number of All Facilities Letters (AFLs) pushing out the information
11   and directives issued by the CDC with respect to identification of PUI and infection
12   prevention and control. (See AFLs 20-09, 20-10, 20-11, 20-13, and 20-15, attached
13   collectively as Exhibit N to the RFJN.)
14               E.     On February 6, 2020, CMS took direct action to prepare healthcare
15   facilities for the national response to the emerging 2019 Novel Coronavirus by issuing a
16   Memorandum to State Survey Agency Directors (i.e., CDPH).              The memo directed
17   healthcare providers to adhere to CDC directives regarding the use of standard, contact
18   and airborne precautions when interacting with PUI and advised facilities to have PPE
19   measures and protocols in place.    (See February 6, 2020 CMS Memorandum QSO 20-
20   09-ALL, attached as Exhibit O to the RFJN.)
21               F.     On February 28, 2020, the CDC issued a Health Update and Interim
22   Guidance on the Outbreak of 2019 Novel Coronavirus (COVID-19) for healthcare
23   providers. The Update noted that to date there had been limited spread in the United
24   States. As of February 26, 2020, there were a total of 61 cases in the country, 46 of
25   whom were repatriated persons from high-risk settings.        One patient, with no travel
26   history or links to other known cases was reported on February 26, 2020 in California.
27   The guidance again included criteria to guide the evaluation and testing of patients under
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 1   investigation (“PUI”) for COVID-19. Healthcare providers were advised to identify PUI
 2   based on clinical features (i.e., fever or signs/symptoms of lower respiratory illness),
 3   travel to an affected geographic region and contact with a laboratory confirmed COVID-
 4   19 patient. Persons meeting the PUI criteria were to be tested. This update further added
 5   patients with fever and signs/symptoms of lower respiratory illness without an alternative
 6   explanatory diagnosis and no identified source of exposure to the list of those who should
 7   be tested. At this time, testing was being performed at state public health laboratories
 8   and the CDC. (See February 28, 2020 CDC Health Update and Interim Guidance on
 9   Outbreak of Coronavirus Disease 2019 (COVID-19) attached as Exhibit P to the RFJN.)
10               G.     On or about March 3, 2020, the CDC issued “Strategies to Prevent the
11   Spread of COVID-19 in Long-Term Care Facilities (LTCF)”. (Exhibit Q to RFJN.) This
12   publication, issued specifically to long term care facilities such as Anaheim Terrace,
13   reiterated that standard, contact and droplet precautions with eye protection were to be
14   used in the care of residents with an undiagnosed respiratory infection. Facilities were
15   advised to make PPE, including facemasks, eye protection, gowns and gloves available
16   immediately outside the resident’s room and to post signs on the door or wall outside the
17   room of the residence to clearly describe the type of precautions needed and the required
18   PPE. (See Exhibit Q to RFJN.)
19               H.     On March 3, 2020, the CDPH pushed the information contained in the
20   CDC February 28, 2020 Interim Guidance and the CDC’s March 3, 2020 guidance to
21   long term care facilities in AFL 20-17. (See Exhibit R to RFJN.)
22               I.     On March 4, 2020, CMS issued a Memorandum to State Survey
23   Agency Directors regarding Infection Control and Prevention of Coronavirus Disease
24   2019 (COVID-19) in nursing homes. The State Survey Agency, as agent for CMS, was
25   also responsible for disseminating the contents of the QSO memo to the States’ nursing
26   homes.    The Memo instructed facilities to screen visitors for international travel,
27   symptoms of respiratory infection, and contact with someone with or under investigation
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 1   for COVID-19, and to restrict entry of visitors who meet these criteria. Facilities were
 2   advised to screen staff for the criteria as well, and that staff who meet the criteria should
 3   not report to work. The CMS guidance also included directions as to when to transfer a
 4   resident with a suspected or confirmed COVID-19 infection to a hospital, and under what
 5   conditions a nursing home may accept patients diagnosed with COVID-19.                 CMS
 6   advised facilities to follow the available CDC guidance regarding infection prevention
 7   and control. (See CMS Memo QSO 20-14-NH, attached as Exhibit S to RFJN.)
 8                 J.   On March 8, 2020, the CDC issued further Updated Guidance on
 9   Evaluating and Testing Persons for Coronavirus Disease 2019 (COVID-19).                 (See
10   Exhibit T to RFJN.) The CDC advised that with the expanding spread of COVID-19,
11   additional areas of geographic risk were being identified and the criteria for considering
12   testing were being updated to reflect this spread. The Update indicated that additional
13   COVID-19 testing was becoming available in clinical laboratories pursuant to FDA
14   Emergency Use Authorizations. With increased access to testing, the criteria for testing
15   had been expanded to include more symptomatic persons, such as older adults (age 65
16   and older). Thus, as part of the coordinated national effort to control and mitigate the
17   spread of the pandemic, the CDC had been specifically directing which persons could be
18   tested. The March 8, 2020 updated guidance, additionally provided detailed instructions
19   for the collecting of specimens. (See Exhibit T to RFJN.)
20                K.    On March 10, 2020, the CDC issued Interim Infection Prevention and
21   Control Recommendations for Patients with Suspected or Confirmed Coronavirus
22   Disease 2019 (COVID-19) in Healthcare Settings.          (See Exhibit U to RFJN.)        The
23   publication again reiterated the directive regarding use of standard and transmission-
24   based precautions, and directed healthcare providers who enter the room of a patient with
25   known or suspected COVID-19 to adhere to standard precautions and use a respirator or
26   facemask, gown, gloves and eye protection. The CDC advised that patients with known
27   or suspected COVID-19 should be cared for in a single-person room with the door
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 1   closed. Airborne infection isolation rooms were to be reserved for patients undergoing
 2   aerosol generating procedures. The March 10, 2020 CDC publication further noted that
 3   “[m]ajor distributors in the United States have reported shortages of PPE, specifically
 4   N95 respirators, facemask and gowns.” (Exhibit U to RFJN.) Based on a local and
 5   regional situational analysis of PPE supplies, the CDC advised that facemasks were an
 6   acceptable alternative when the supply chain of respirators cannot meet the demand.
 7   During this time, respirators should be prioritized for situations where respiratory
 8   protection is most important. Healthcare providers were advised that available respirators
 9   should be prioritized for procedures that are likely to generate respiratory aerosols, which
10   pose the highest exposure risk to healthcare providers. In the publication, the CDC
11   further advised that in the event of a shortage of medical gowns, gowns should also be
12   prioritized for aerosol generating procedures.
13                L.    On March 10, 2020, CMS issued a Memorandum providing an update
14   regarding the PPE recommendations issued by the CDC on March 10. (See CMS Memo
15   QSO 20-17-ALL, attached as Exhibit V to RFJN.)
16                M.    On March 11, 2020, CDPH issued an All Facilities Letter (AFL)
17   notifying long-term care facilities of the latest CDC and CMS directives for infection
18   control and prevention and the March 4, 2020 visitation restrictions issued by CMS. (See
19   CDPH AFL 20-22, attached as Exhibit W to RFJN.) Anaheim Terrace followed these
20   directives and the directives issued prior to this, in an effort to assist and help carry out
21   the CDC and CMS’ goal of containing and responding to the pandemic.
22                N.    On March 13, 2020, President Trump declared the COVID-19
23   outbreak a national emergency. Following this proclamation, the CDC and CMS took
24   swift action to waive restrictions and expand capacity for healthcare providers and
25   suppliers to coordinate the national response to the nationally declared state of
26   emergency. On March 13, 2020, CMS issued revised infection control and prevention
27   directives for nursing homes to prevent the transmission of COVID-19. In the Memo,
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 1   facilities were ordered to restrict visitation of all visitors and non-essential health care
 2   personnel, cancel communal dining and all group activities, implement active screening
 3   of residents and staff for fever and respiratory symptoms, and screen all staff at the
 4   beginning of their shift for fever and respiratory symptoms. Additional direction was
 5   provided regarding patient transfers and acceptance of patients with COVID-19.
 6   Facilities were ordered to continue to follow applicable CDC guidelines. (See CMS
 7   Memo QSO 20-14-NH, attached as Exhibit X to RFJN.)
 8                O.    On March 17, 2020, the CDC issued documents containing
 9   instructions to optimize the supply of eye protection, isolation gowns, N95 respirators
10   and face masks. The documents provided a series of specific directives relating to the
11   use of PPE based on whether the facility was in conventional capacity (normal
12   operation), contingency capacity (experiencing temporary expected PPE shortages), or
13   crisis capacity (involving periods of known PPE shortages necessitating strategies that
14   are no commensurate with standard U.S. standards of care). For facilities in contingency
15   capacity, the CDC advised that extended use of facemasks should be implemented and
16   that the use of facemasks should be restricted for use by healthcare providers rather than
17   patients for source control. During crisis capacity, facilities were to prioritize facemask
18   use for use during activities where prolonged face-to face or close contact with a
19   potentially infectious patient is unavoidable, exclude healthcare providers at higher risk
20   for severe illness from COVID-19 from contact with known or suspected COVID-19
21   patients, use a face shield with no mask, and in settings where facemasks were not
22   available, use homemade masks. In the document pertaining to optimizing the use of
23   N95 respirators, the CDC advised that (1) if the healthcare provider was to remain six
24   feet away from a symptomatic patient, no facemask or N95 respirator was required; (2)
25   if the healthcare provider was to be within three to six feet of a symptomatic patient, a
26   facemask should be used; and (3) if the healthcare provider was to be within three feet of
27   a symptomatic patient including providing direct patient care, an N95 respirator should
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 1   be used if available. When an N95 respirator was not available, healthcare providers
 2   were instructed to wear a surgical mask and exclude healthcare providers at higher risk
 3   from severe illness from contact with an infectious patient. (See documents attached
 4   collectively as Exhibit Y to RFJN.)
 5                 P.    On March 20, 2020, CMS issued a memo entitled Prioritization of
 6   Survey Activities. In the Memo, CMS advised that CMS surveyors would be conducting
 7   targeted infection control surveys of providers identified in collaboration with the CDC
 8   and the HHS Assistant Secretary for Preparedness and Response to ensure providers are
 9   implementing actions to protect the health and safety of individuals to respond to the
10   COVID-19 pandemic. (See CMS Memo QSO 20-20-ALL, attached as Exhibit Z to
11   RFJN.) A skilled nursing facility would be subject to citation, and fines for failure to
12   implement the directives from CMS. Thus, the directives from CMS (which followed
13   and instructed facilities to follow the CDC guidance) were truly mandates, not
14   recommendations.
15                Q.     On March 21, 2020, the CDC issued further guidance specifically
16   aimed at long term care facilities entitled “Preparing for COVID-19: Long-term Care
17   Facilities Nursing Homes.” (See Exhibit AA to RFJN.) In this publication, nursing
18   homes were advised to restrict visitation, restrict all volunteers and non-essential
19   healthcare personnel, cancel group activities and communal dining, implement active
20   screening of residents and healthcare providers for fever and respiratory symptoms, and
21   make PPE available in areas where resident care is provided and place a trash can near
22   the exit inside the resident’s room so staff can discard PPE prior to exiting. The CDC
23   further directed that,
24   ///
25   ///
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 1         residents with known or suspected COVID-19 do not need to be placed in an
           airborne infection isolation room (AIIR) but should ideally be placed in a
 2
           private room with their own bathroom. Room sharing might be necessary if
 3         there are multiple residents with known or suspected COVID-19. As
           roommates of symptomatic residents might already be exposed, it is
 4
           generally not recommended to separate them in this scenario. (Exhibit AA
 5         to RFJN.)
 6

 7
                  R.     On April 2, 2020, CMS issued new guidelines aimed at long-term

 8
     care facilities to “mitigate the spread” of COVID-19. (See Exhibit BB to RFJN.) In

 9
     doing so, CMS noted that “[l]ong-term care facilities are a critical component of

10
     America’s healthcare system.” CMS stated that, “CMS and CDC have worked together

11
     to swiftly issue unprecedented targeted direction to the long-term care facility industry,

12
     including a general prohibition of visitors implemented on March 13, 2020, as well as

13
     strict infection control and other screening recommendations.” (Exhibit BB to RFJN.)

14
     CMS further noted that the CDC and CMS were providing “critical, needed leadership

15
     for the Nation’s long-term care facilities to prevent further spread of COVID-19” and

16
     that long term care facilities were to immediately implement symptom screening for all

17
     persons (residents, staff, visitors, outside healthcare workers, vendors, etc.) entering a

18
     long term care facilities. Facilities were ordered to specifically ask about COVID-19

19
     symptoms and to check the temperature of all visitors, as well as limit access points and

20
     ensure that all accessible entrances have a screening station. Every resident was also to

21
     be assessed for symptoms and have their temperature checked every day, and patients

22
     and residents entering facilities screened for COVID-19 through testing, if available.

23
     CMS ordered facilities to ensure all staff were using appropriate PPE when interacting

24
     with residents to the extent PPE was available and per CDC guidance on the conservation

25
     of PPE. CMS further directed long term care facility staff to wear a facemask while in

26
     the facility for the duration of the state of emergency, to wear full PPE for the care of any

27
     resident with known or suspected COVID-19, and if COVID-19 transmission occurs in

28
     the facility, healthcare personnel were to wear full PPE in the care of all residents
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 1   irrespective of COVID-19 diagnosis and symptoms.            Further, to avoid transmission
 2   within long-term care facilities, the facilities were advised to use separate staffing teams
 3   for COVID-19 positive residents to the best of their ability, and to work with State and
 4   local leaders to designate separate facilities or units within a facility to separate COVID-
 5   19 negative residents from COVID-19 positive residents and individuals with unknown
 6   COVID-19 status. (Exhibit BB to RFJN.)
 7         73.    In summary, through the federal directives issued by the CDC, CMS, and
 8   the CDPH surveyors contracted by CMS, federal authorities were making the operational
 9   decisions as it related to the clinical pandemic response in skilled nursing facilities.
10   Facilities were ordered to restrict visitation, cancel communal dining, implement active
11   screening and staff for fever and respiratory symptoms, screen staff at the beginning of
12   their shift for fever and respiratory symptoms and actively take their temperature and
13   document the absence of shortness of breath and any new or change in cough and sore
14   throat. Facilities were instructed on which patients and staff to test for COVID-19, under
15   what circumstances to use and how to conserve PPE, when to permit staff who had
16   COVID-19 to return to work, and how to handle the isolation of residents infected with
17   COVID-19 and those under investigation for COVID-19. These very detailed clinical
18   directives and instructions represented a marked departure from the regulatory structure
19   which existed before the pandemic. Moreover, as acknowledged by HHS Secretary Azar
20   in his Fourth Amended Declaration: “COVID-19 is an unprecedented global challenge
21   that requires a whole-of-nation response that utilizes federal-, state- and local-distribution
22   channels as well as private-distribution channels [for the provision of covered
23   countermeasures].” 85 Fed. Reg. at 79,194; (Exhibit E to RFJN, p. 12).
24         74.    At all relevant times Anaheim Terrace was acting at the specific direction of
25   federal authorities to address the on-going federal effort and national state of emergency
26   to contain the COVID-19 pandemic, and prevent the spread of the virus. All actions
27   taken by Anaheim Terrace in preparation for and response to the COVID-19 pandemic,
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 1   were taken “in an effort to assist, or help carry out, the duties or tasks” as ordered by the
 2   CDC and CMS, and CDPH surveyors (per the contract with CMS), and performed
 3   pursuant to the direct orders and comprehensive and detailed directives issued by these
 4   agencies.     Anaheim Terrace was acting at the direction of the federal government to
 5   prevent, treat and contain COVID-19 at the facility and in its care and treatment of
 6   Carmen Bejar Figueroa.
 7         75.      Next, to establish removal under the federal officer statute, Defendant must
 8   show “a causal nexus between the plaintiff’s claims and the defendant’s actions under
 9   federal direction.” Winters v. Diamond Shamrock Chemical Co., 149 F.3d 387, 398 (5th
10   Cir. 1998).
11         76.      Here, Plaintiff alleges that due to the wrongful acts and omissions of
12   Defendant, the decedent, Carmen Bejar Figueroa, became infected with COVID-19
13   during her residency at Anaheim Terrace and died due, in part, to the virus on August 5,
14   2020. (See Exhibit A to RFJN, Complaint ¶¶ 2, 4, 6, 22, 23, 24, 26, 28, 29, 34, 35, 36,
15   40, 45, 53, 59.) Anaheim Terrace’s response to the COVID-19 pandemic as it relates to
16   the claims of Plaintiff (i.e., the care and treatment of Carmen Bejar Figueroa) was
17   directly related to the orders and directives issued by the federal government. There is a
18   clear causal nexus between the claims against Anaheim Terrace and the actions taken by
19   Anaheim Terrace at the direction of the federal government including, but not limited to,
20   the direction of CDC, CMS, as well as by representatives of CDPH, the State Survey
21   Agency acting under contract with CMS, with respect to the response to the pandemic at
22   the facility and the administration of care to Carmen Bejar Figueroa. The nexus element
23   is met as Anaheim Terrace was following the orders/directives of CMS with regard to
24   infection control, COVID-19 testing and the use of PPE.
25         77.      Lastly, Defendant meets the final requirement as they intend to assert
26   colorable federal defenses. For purposes of removal, the defense must be “colorable”
27   and need not be “clearly sustainable” as the purpose for the removal statue is to secure
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 1   the validity of the defense may be tried in federal court. Willingham v. Morgan, 395 U.S.
 2   402, 407 (1969). The colorable federal defense element is met where a defendant alleges
 3   its actions were justified as the defendant was complying with federal directives with
 4   respect to the alleged wrongful acts. See Venezia v. Robinson, 16 F.3d 209, 212 (7th Cir.
 5   1994); and Mesa v. California, 489 U.S. 121, 126-127 (1989); see also Rural Community
 6   Workers Alliance v. Smithfield, No. 5:20-CV-06063-DGK, 2020 WL 2145350 (W.D.
 7   Mo. May 5, 2020) (finding that compliance with federal guidelines aimed to protect
 8   employees from COVID-19 exposure served as a defense to civil liability).             Here,
 9   Defendant Anaheim Terrace was complying with federal directives and regulations
10   issued by CMS, the CDC, and CDPH, the CMS contracted state surveyors, in responding
11   to all aspects of the COVID-19 pandemic.
12         78.    As a colorable defense, Defendant also asserts an immunity defense under
13   the PREP Act as set forth at 42 U.S.C. 247d-6d(a)(1). This Act provides for immunity of
14   “covered persons” from “suit and liability under Federal and State law with respect to all
15   claims for loss caused by, arising out of, relating to, or resulting from the administration
16   to or the use by an individual of covered countermeasure” provided there has been a
17   declaration issued by the Secretary of Health and Human Services with respect to such
18   countermeasure. On March 10, 2020, HHS Secretary Azar issued a Declaration invoking
19   the PREP Act for the COVID-19 pandemic.              The Declaration was effective as of
20   February 4, 2020. 85 Fed. Reg. 15,198; (See Exhibit B to RFJN). Anaheim Terrace is a
21   “covered person” under the Act. 85 Fed. Reg. at 15,199; (See Exhibit B to RFJN).
22         79.    Under the PREP Act and Secretary Azar’s initial Declaration, “covered
23   countermeasures” include any qualified pandemic or epidemic product; and any drug,
24   biologic product or device. A “qualified pandemic or epidemic product” is defined as a
25   drug, biologic product or device, which is a product manufactured, used, designed,
26   developed, modified, licensed or procured to diagnose, mitigate, prevent, treat or cure a
27   pandemic or epidemic; or to limit the harm such pandemic or epidemic might otherwise
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 1   cause.     Secretary Azar’s Declaration also included as covered countermeasures any
 2   antiviral drug, any biologic, any diagnostic, any other device or any vaccine used to treat,
 3   diagnose, cure, prevent, or mitigate COVID-19, or the transmission of SARS-CoV-2 or a
 4   virus mutating therefrom, or any device used in the administration of any such product.
 5   85 Fed. Reg. at 15,199-15,1200; (See Exhibit B to RFJN).
 6            80.   In the initial Declaration, Secretary Azar declared that “Administration of
 7   Covered Countermeasures means physical provision of the countermeasures to recipients,
 8   or activities and decisions directly relating to public and private delivery, distribution,
 9   and dispensing of the countermeasures to recipients; management and operation of
10   countermeasure programs; or management and operation of locations for purpose of
11   distributing and dispensing countermeasures.” 85 Fed. Reg. at 15,202 (emphasis
12   added); (Exhibit B to RFJN).
13            81.   Secretary Azar subsequently issued an Amended Declaration under the
14   PREP Act, which was effective as of March 27, 2020. 85 Fed. Reg. 21,012 (Apr. 15,
15   2020); (See Exhibit C to RFJN). The Amendment added respiratory protective devices
16   approved by NIOSH (National Institute for Occupational Safety and Health) as a covered
17   countermeasure under the PREP Act. In the Amendment, the Secretary stated that “any
18   respiratory protective devices approved by NIOSH . . . is a priority for use during the
19   public health emergency that [the Secretary] declared on January 31, 2020. . . for the
20   entire United States to aid in response of the nation’s health care community to the
21   COVID-19 outbreak.” 85 Fed. Reg. at 21,013; (See Exhibit C to RFJN).
22            82.   On June 4, 2020, Secretary Azar further amended the March 10, 2020
23   Declaration to clarify that covered countermeasures under the Declaration include
24   qualified products that limit the harm COVID-19 might otherwise cause.                 This
25   Amendment was effective as of February 4, 2020. 85 Fed. Reg. 35,100 (June 8, 2020);
26   (See Exhibit D to RFJN).
27   ///
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 1         83.    Plaintiff’s Complaint alleges that Defendant failed to prevent the decedent,
 2   Carmen Bejar Figueroa, from contracting COVID-19. Such a claim, by its nature, relates
 3   to Anaheim Terrace’s administration and/or use of covered countermeasures and
 4   qualified pandemic products including facemasks, gloves, gowns, N95 masks, and
 5   COVID-19 testing kits, used to diagnose, mitigate, prevent, treat or cure COVID-19 or to
 6   limit the harm COVID-19 might otherwise cause, and therefore falls under the PREP
 7   Act, which provides Defendant with immunity for such claims. Thus, the claims in
 8   Plaintiff’s Complaint relate to “covered countermeasures” under the PREP Act, which
 9   qualify for and trigger immunity from liability for the claims in this action.
10         84.    Removal to federal court is proper in this case, as Defendant has established
11   that all elements for removal under the federal officer statute have been met.
12         WHEREFORE, Defendant, ANAHEIM TERRACE CARE CENTER, LLC,
13   having established that this case is properly removed to Federal Court, provides notice
14   pursuant to 28 U.S.C. § 1446, that the action pending in the Superior Court of the State of
15   California County of Orange, Case No. 30-2021-01186015-CU-PO-CJC, is properly
16   removed to the United States District Court for the Central District of California, and
17   respectfully request that this Court exercise jurisdiction over this case.
18

19           4/2/2021
     Dated: ________________                        WILSON GETTY LLP
20

21                                                 /s/ Ryan G. Canavan
                                             By: ___________________________________
22                                                William C. Wilson
                                                  Kim S. Cruz
23                                                Ryan G. Canavan
                                                  Evan J. Topol
24
                                             Attorneys for Defendant ANAHEIM TERRACE CARE
25                                           CENTER, LLC

26

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 1     Adam Figueroa, Individually and as heir and SII to Carmen Bejar Figueroa v. Anaheim Terrace
                                         Care Center, LLC, et al.
 2                     United States District Court, Central District of California
                                                 Case No.
 3                                                 ***
                                         PROOF OF SERVICE
 4
            I am employed in San Diego County. I am over the age of 18 and not a party to this action. My
 5   business address is 12555 High Bluff Drive, Suite 270, San Diego, California 92130.
 6
            On April 2, 2021, I served the foregoing documents, described in this action as:
 7
        • DEFENDANT ANAHEIM TERRACE CARE CENTER, LLC’S NOTICE OF
 8        REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and
          1446
 9
10   as follows:

11                                            Dawn M. Smith, Esq.
                                             Smith Clinesmith, LLP
12
                                         325 N. St. Paul St., 29th Floor
13                                              Dallas, TX 75201
                                                T: 214.953.1900
14                                              F: 214.953.1901
                                       Email: dawn@smithclinesmith.com
15                                    Email: service@smithclinesmith.com
                                              Counsel for Plaintiffs
16

17   [X]     By CM/ECF ELECTRONIC DELIVERY:          In accordance with the registered case
     participants and in accordance with the procedures set forth at the Court’s website
18   www.ecf.cacd.uscourts.gov.
19    [X] STATE: I declare under penalty of perjury under the laws of the State of California that the
     above is true and correct.
20
     Executed on April 2, 2021 at San Diego, California.
21

22                                                              _____________________________
                                                                Tonya Jamois
23

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                                              PROOF OF SERVICE
